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                                       pastern district of Virginia
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                                         June 26, 2018




       Robert W. McFarland, Esquire
       McGuire Woods
       101 West Main Street
       Suite 9000
       Norfolk, VA 23510

                  Re:   RMS Titanic, Inc., etc. v.
                        The Wrecked and Abandoned Vessel, etc.
                        Case No. 2:93cv902


       Dear Mr. McFarland:


           On review of the Periodic Report submitted to the court on June
      12, 2018, you reference Exhibit 3 twice: once as the Equity
      Committee's Disclosure Statement, and once as the Debtors' Response
      in Opposition to the Motion for Appointment of Chapter 11 Trustee.
      The Disclosure Statement was actually presented to the court as
      Exhibit 3, and the court did not receive the Debtors' Response in
      Opposition, either with the Periodic Report filed with the Clerk or
      with the court's complimentary copy of the Report. Please file this
      Response in Opposition as either Exhibit 3A or Exhibit 5, and so
      inform the court of the filing.

                 Thank you for your attention to this matter.

                                                         Very truly yours,




                                                         Rebecca Beach Smith


      RBS/dmt

      cc:        Fernando Galindo, Clerk of Court

                 Kent Porter, Assistant United States Attorney

                 Brian A. Wainger, Esquire
